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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

CASE NO. 25-mj-00108-NRN

UNITED STATES OF AMERICA,

               Plaintiff,

v.

MOHAMMED SABRY SOLIMAN,

               Defendant.


                                  NOTICE OF APPEARANCE


       The Office of the Federal Public Defender, by and through undersigned counsel, hereby

enters its appearance in the above-captioned case.

                                             Respectfully submitted,

                                             VIRGINIA L. GRADY
                                             Federal Public Defender



                                             s/ David Kraut
                                             DAVID KRAUT
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                                          of 2




                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 4, 2025, I filed the foregoing Notice of Appearance with the
Clerk of Court using the CM/ECF system, which will send notification of such filing to the
following email address:

       Melissa E. Hindman, Assistant United States Attorney
       Email: melissa.hindman@usdoj.gov

        I hereby certify that I have mailed or served the document or paper to the following
participant in the manner (mail, hand-delivery, etc.) indicated next to the participant’s name:

       Mohammed Sabry Soliman (via U.S. mail)

                                            s/ David Kraut
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